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 7
 8
                                                                                               !
                              IN THE UNITED STATES DISTRICT COURT
 9                                                 !
                             FOR THE NORTHisN DISTRICT OF CALIFORNIA
10        !
11        !
     UNITED STATES OF AMERICA,                     ) NO. CR 19-287 CRB
12                                                 )
                                        Plaintiff, ) SENTENCING MEMORANDUM
13
                                                   )
14        vs.                                      )
                                                   )
15   Jose Arteaga Vasquez                          )Date: September 30, 2020
16                                                 )Time: 1:30 p.m.
                                        Defendant. )Courtroom: THE HONORABLE
17                                                 )JUDGE Breyer
                                                   )
18
          !
19                                       I. INTRODUCTION

20              Mr. Arteaga Vasquez is pending sentencing after his guilty
21
     plea to Count 8 of the indictment on June 24, 2020, pursuant to a
22
     non-cooperation plea agreement. The PSR noted potential grounds
23
24   for a downward variance. For the same reasons posited in the PSR,

25   and those below, we urge the Court to sentence Mr. Arteaga Vasquez
26
     to       time    served.   We   urge   the   Court   to   find   that   there   is   no
27
     mandatory minimum in this case, freeing the Court to sentence Mr.
28
29   Arteaga Vasquez pursuant to the dictates of Title 18 §3553(a),


                                                  !1
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     which states that the Court shall impose a sentence “sufficient
 1
 2   but   not   greater   than   necessary    …”   to   promote   the   factors

 3   enumerated in that section.
 4
                                  II. DISCUSSION
 5
           A. Objections to the PSR
 6
 7         These objections are noted in the order in which they appear

 8   in the PSR.
 9
           Page 2 states that Mr. Arteaga’s race is “white.” Mr.
10
     Arteaga doesn’t consider himself to be white, and is proud of his
11
12   Latino or Latinex heritage. He asks that the PSR reflect his

13   identity accordingly.
14
           Paragraph 13 references methamphetamine discussions which
15
     differ from Mr. Arteaga’s recollection. Counsel was unable to
16
17   locate and review the undercover recordings and texts referred to

18   in the DEA reports, with the exception of the recorded December 7,
19
     2017 meeting in which the first such discussion occurred. In that
20
     meeting, the informant clearly states that he prefers to buy
21
22   methamphetamine as opposed to the heroin that was then being

23   transacted. He asked about whether Mr. Arteaga could provide it
24
     and, if so, how much it would cost. It takes several back and
25
     forth exchanges for Mr. Arteaga to even understand that the
26
27   informant is talking about methamphetamine. He has to offer
28   several clarifications before Mr. Arteaga said he’d call the
29
     informant back. No methamphetamine transactions thereafter

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     occurred with Mr. Arteaga, despite the informant’s stated
 1
 2   preference.

 3         Mr. Arteaga asserts that he never had any intention of
 4
     transacting methamphetamine. This interpretation is bolstered by
 5
     the description in paragraph 19 of a later recorded conversation,
 6
 7   in which Mr. Arteaga supposedly suggested a “price of $3500 for

 8   Methamphetamine. However, during the conversations, he tried to
 9
     change the subject to heroin. The agents surmised Jose had easier
10
     access to heroin than methamphetamine.” This supposition by the
11
12   agents should be stricken from the PSR.1 In fact, Mr. Arteaga

13   never provided any methamphetamine. The reference to
14
     methamphetamine in paragraph 13 should therefore be deleted.
15
           B. Childhood History
16
17         To say Mr. Arteaga had a difficult childhood would be a

18   terrible    understatement.     In   a    criminal    courthouse     full   of
19
     unfortunate childhoods, Mr. Arteaga’s stands out. His parents and
20
     siblings were assassinated by being burned to death when he was
21
22   three years old. PSR para. 45. He was taken in by his adoptive

23   family and regularly threatened by his biological family’s killers
24
     while he was still a child. Id. at paragraphs 45-48.
25
           Defense investigator Chayra’s report of his interview of Mr.
26
27   Arteaga’s   adoptive   mother   is   submitted   as    Exhibit   A   to   this
28
29   1Counsel acknowledges that this objection was not previously made
     to the PSR draft’s author.
                                          !3
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     pleading. She describes in harrowing detail the life that no child
 1
 2   should have to endure, but which was forced upon Mr. Arteaga. Her

 3   opinion that, as a child, her adoptive son “as a child through his
 4
     teenage years always suffered from depression … and … lived in
 5
     constant fear that the men who murdered his family would come and
 6
 7   kill    him     as   well”   needs      no    support       from    a   mental      health

 8   professional. Exhibit A, p.2.
 9
             Even when his biological family’s killers weren’t gunning
10
     for him, Mr. Arteaga was regularly beaten by his adoptive father.
11
12   PSR at para. 51.

13           At 13, years old, he had to run for his life and left the
14
     country.       Unfortunately,    the     smugglers      enslaved        and   beat    him,
15
     causing      injuries    from   which    he       suffers    to     this   day.   Id.   at
16
17   paragraphs 48-49, 53.

18           C. Medical Issues
19
             Mr. Arteaga has suffered from back pain since he was beaten
20
     by the smugglers who took him to the United States. PSR paragraphs
21
22   48,    53.    Earlier    this   year,    Mr.      Arteaga     was    beaten    by    other

23   inmates, resulting in head injuries and exascerbation to his back
24
     injuries.2 Santa Rita Jail medical records regarding his treatment
25
     for this assault are attached collectively as Exhibit B. He did
26
27   not know or identify his attackers.
28
29
     2   Counsel did not bring this to the PSR author’s attention.
                                                  !4
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             Mr. Arteaga has sought medical treatment at the jail for his
 1
 2   back pain, but has not - at least until recently - received even

 3   over-the-counter medication to alleviate the pain. The pain has
 4
     been constant, and has interfered with Mr. Arteaga’s sleep.
 5
             Mr. Arteaga has also been suffering from bleeding gums and
 6
 7   tooth   aches.     The    prisoners    are    apparently     provided   with   sub-

 8   standard tooth brushes and no dental floss.3
 9
             Medical    records      reflecting    Mr.   Arteaga’s    complaints     are
10
     attached collectively as Exhibit C. Some of the records reflect
11
12   that Mr. Arteaga supposedly refused treatment. Mr. Arteaga denies

13   this. Instead, to his understanding he was being asked to sign an
14
     acknowledgement          that   he’d   been    treated     adequately    for   his
15
     complaints, and refused to do so.
16
17           Counsel has attempted to intervene numerous times on Mr.

18   Arteaga’s behalf, but those attempts have not resulted in adequate
19
     treatment    for   Mr.     Arteaga’s   back    or   dental    issues.   Exhibit   D
20
     (samples of counsel’s attempts to address Mr. Arteaga’s medical
21
22   treatment).

23                      D. Determination of the Appropriate Sentence
24
                               1. Title 18 U.S.C. §3553(a)
25
          According to Title 18 §3553(a), the Court shall impose a
26
27   sentence “sufficient but not greater than necessary …
28   3Dental and back treatment issues were discussed during the PSR
29   interview. However, counsel failed to address the dental issues in
     response to the draft PSR.
                                              !5
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           (A) to reflect the seriousness of the offense, to promote
 1             respect for the law, and to provide just punishment for
 2             the offense;
           (B) to afford adequate deterrence to criminal conduct;
 3         (C) to protect the public from further crimes of the
 4             defendant;
           (D) to provide the defendant with needed educational or
 5             vocational training, medical care, or other medical
               treatment in the most effective manner; …
 6                 !
 7         §3553(a) also indicates that the Court should consider, among

 8   other things, the applicable Guidelines range for the offense of
 9
     conviction. However, although the Court is required to consider
10
     the Guidelines calculations, those Guidelines carry no presumption
11
12   of reasonableness, and a sentence outside the Guidelines carries

13   no presumption of unreasonableness. Gall v. United States, 552
14
     U.S. 38 (2007); Irizarry v. United States, 553 U.S. 708 (2008).
15
     Rather, the Court should consider all of the 18 U.S.C. §3553(a)
16
17   factors along with the Guidelines in deciding on the appropriate

18   sentence.
19
           The     §3553(a)   factors,    other    than   the   Guidelines,   to   be
20
     considered in fashioning a sentence “sufficient but not greater
21
22   than necessary,” include: the nature and circumstances of the

23   offense, the history and characteristics of the defendant, the
24
     need for the sentence imposed to reflect the seriousness of the
25
     offense, promote respect for the law, provide just punishment for
26
27   the   offense,     afford    adequate   deterrence    to   criminal   conduct,
28   protect the public from further crimes from the defendant, and to
29

                                              !6
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     provide him with needed educational or vocational training and the
 1
 2   kinds of sentences available.

 3                 2. The Nature and Circumstances of the Offense
 4   !
           Although he pleaded guilty to one charge, Mr. Arteaga Vasquez
 5
     sold heroin to an informant and/or agent on multiple occasions, an
 6
 7   offense not to be taken lightly. However, Mr. Arteaga was a lower

 8   level dealer despite his statements of puffery during
 9
     transactions. Contrary to the statements attributed to him in PSR
10
     paragraph 18, he never had $52,000 in counterfeit or real money.
11
12   Mr. Arteaga had been told by another man that he had lost $52,000

13   because he was given counterfeit instead of real money. This is
14
     what Mr. Arteaga was referring to in paragraph 18.
15
           Mr. Arteaga’s last charged transaction was on November 15,
16
17   2018. He wasn’t arrested until August 12, 2019. PSR para. 7. When

18   he was arrested, no drugs were seized.
19
             3. Mr. Arteaga Vasquez’s History and Characteristics
20
           We have already detailed Mr. Arteaga Vasquez’s sad childhood
21
22   and past. The only violence in his past is what was inflicted on

23   him, including during his current incarceration.
24
           Mr.     Arteaga’s    hardships       did        not    end   when   he   reached
25
     adulthood. He has always wanted children and family of his own,
26
27   and   was     terribly    saddened    by        the   loss    of   two    children   to
28   miscarriages. PSR para. 50.
29

                                                !7
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     4. The Need to Reflect the Seriousness of the Offense, Promote
 1   Respect for the Law and Provide Just Punishment (§§3553(a)(2((A))
 2                                            !
            Mr. Arteaga Vasquez does not contest the seriousness of the
 3
 4   offense and the need to promote respect for the law and provide

 5   just punishment. However, Mr. Vasquez’s incarceration in this case
 6   has been marked by medical and dental issues and violence. Mr.
 7
     Arteaga’s 13+ months of incarceration have been far more difficult
 8
 9   than   what   should   have   occurred        in   our   civilized   society.   His

10   denial of basic medical and dental treatment was more punitive
11
     than it should have been, even had he been sentenced. It is all
12
     the more egregious, considering that it occurred while he was
13
14   still presumed to be innocent.

15    5. Deterrence of Criminal Conduct, Protection of the Public from
                               Further Crimes
16
                                              !
17          There are no reasons to believe that Mr. Arteaga Vasquez

18   requires any further imprisonment in order to deter future
19
     criminal conduct. Nor is there any reason to assume that the
20
     public requires protection from him by incarceration. He has no
21
22   prior convictions. He will be deported to the country that harbors

23   the men who killed his entire family. Mr. Arteaga has been
24
     victimized far more than any harm he has caused.
25
        6. Providing the defendant with Needed Medical Care or other
26
               Medical Treatment in the Most Effective Manner
27                                             !
            Mr. Arteaga Vasquez's medical care could not possibly be
28
29   worse outside of the jail system than what it’s been inside.


                                              !8
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          7. Grounds for Departure and Variance
 1
 2        a. Disadvantaged Childhood and History of Abuse

 3        “It requires no citation of authority to assert that
 4
     children who are abused in their youth generally face
 5
     extraordinary   problems developing into responsible, productive
 6
 7   citizens.” Santosky v. Kramer (1982) 455 U.S. 745, 789 (Rehnquist,

 8   Jl, joined by Burger, C.J., White and O’Connor, J., dissenting).
 9
     See also United States v. Rivera, 192 F.3d 81, 84 (2d Cir. 1999)
10
     (“It seems beyond question that abuse suffered during childhood -
11
12   at some level of severity - can impair a person’s mental and

13   emotional conditions.”) The PSR posits Mr. Arteaga’s miserable
14
     childhood as a ground for downward variance. PSR para. 79 and
15
     Sentencing Recommendation, pp.1-2.
16
17        A sentencing reduction may also be appropriate where a

18   defendant suffered from the early loss of a parent. See, e.g.,
19
     United States v. Collington, 461 F.3d 805 (6th Cir. 2006)
20
     (upholding sentence of 120 months where Guidelines called for
21
22   188-235 months in drug and gun case, based partly on fact that

23   defendant’s father was murdered when he was nine-years old and his
24
     mother died of cancer two years later).
25
          U.S.S.G. §§ 5H1.12 and 5K2.0(d)(1) treat lack of guidance as
26
27   a youth and circumstances indicating a disadvantage upbringing as
28   forbidden departure grounds. However, Booker and its progeny free
29
     district courts to consider these factors as part of their

                                          !9
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     analysis under § 3553(a). See, e.g., United States v. Samuels,
 1
 2   2009 WL 875320 (S.D.N.Y. Apr. 2, 2009) (imposing time served

 3   sentence rather than Guideline range of seventy to eighty-seven
 4
     months when defendant “was raised under poor economic
 5
     circumstances with abusive father addicted to crack”); United
 6
 7   States v. Mapp, 2007 WL 485513 (E.D. Mich. Feb. 9, 2007) (granting

 8   variance based on defendant’s upbringing where he frequently
 9
     witnessed domestic violence and substance abuse by his parents
10
     until his grandmother took custody of him at age five).
11
12          c. Health Issues

13          According to PSR paragraph 52, Mr. Arteaga is 5’8” and weighs
14
     242 pounds. As such, he is                well within the CDC's obesity range.
15
     www.cdc.gov/obesity/adult/defining.html. See also, https://
16
17   www.nytimes.com/interactive/2020/06/04/opinion/coronavirus-health-

18   race-inequality.html. The CDC lists obesity as a pre-existing
19
     vulnerable condition for the coronavirus.https://www.cdc.gov/coronavirus/2019-
20
     ncov/need-extra-precautions/people-with-medical-conditions.html?CDC_AA_refVal=https%3A%2F
21
     %2Fwww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fneed-extra-precautions%2Fgroups-at-higher-
22
     risk.html#obesity.

23
            Mr. Arteaga’s back and dental issues - and the substandard
24
25   care he has received for both - are noted and documented above.

26          A court may vary or depart downward based on the medical
27
     issues and needs of a defendant. See U.S.S.G. § 5H1.4. United
28
     States v. Alemenas, 553 F.3d 27 (1st Cir. 2009) (varying downward
29

                                                     !10
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     based on defendant’s chronic neck pain, and mental and emotional
 1
 2   condition); United States v. Duhon, 541 F.3d 391 (5th Cir. 2008)

 3   (upholding probation for possessing fifteen images of child
 4
     pornography, despite Guidelines range of twenty-seven to thirty-
 5
     three months, in light of first-time offender’s need to continue
 6
 7   medical treatment with his psychologist).

 8                                    III. CONCLUSION
 9
          Mr. Arteaga Vasquez sold drugs, and has suffered plenty for
10
     his actions. He is non-violent, but has suffered much violence.
11
12   There are ample grounds for a downward variance to time served.

13   Further incarceration will    harm him without any benefit to
14
     society. It will only delay his deportation, without just cause.
15
          For the foreseeing reasons, we urge the Court to sentence Mr.
16
17   Arteaga Vasquez to time served.

18                                             Respectfully Submitted,
19        Date: September 23, 2020             __________//s//______________
                                               BRIAN P. BERSON
20                                             ATTORNEY FOR Jose Arteaga
                                               Vasquez
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25
26
27
28
29

                                         !11
